     Case 3:18-cv-00244-L-NLS Document 1 Filed 02/01/18 PageID.1 Page 1 of 9



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 9   Valorie Moser
10
                               UNITED STATES DISTRICT COURT
11                           SOUTHERN DISTRICT OF CALIFORNIA

12
         VALORIE MOSER,                            Case No: '18CV0244 L    NLS
13
14                              Plaintiff,         COMPLAINT FOR DAMAGES
                                                   AND INJUNCTIVE RELIEF:
15       vs.
16                                                    1. FAIR DEBT
                                                         COLLECTION
17
                                                         PRACTICES ACT, U.S.C. §
18       CMRE FINANCIAL SERVICES,                        1692 ET SEQ.
         INC.,                                        2. ROSENTHAL FAIR DEBT
19
                                                         COLLECTION
20                              Defendant.               PRACTICES ACT, CAL
                                                         CIV. CODE §§ 1788-
21
                                                         1788.32; AND
22                                                    3. NELIGENCE
23
                                                   JURY TRIAL DEMANDED
24
25
26
27
28

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     Complaint for Damages
     Case 3:18-cv-00244-L-NLS Document 1 Filed 02/01/18 PageID.2 Page 2 of 9



 1                                        INTRODUCTION
 2   1.     Valorie Moser, (“Plaintiff”), through Plaintiff's attorneys, brings this action to
 3          challenge the actions of CMRE Financial Services, Inc. (“Defendant”), with
 4          regard to Defendant’s unlawful and abusive debt collection practices causing
 5          Plaintiff damages.
 6   2.     The United States Congress has found abundant evidence of the use of abusive,
 7          deceptive, and unfair debt collection practices by many debt collectors, and has
 8          determined that abusive debt collection practices contribute to the number of
 9          personal bankruptcies, to marital instability, to the loss of jobs, and to invasions
10          of individual privacy. Congress wrote the Fair Debt Collection Practices Act,
11          15 U.S.C. § 1692 et seq. (hereinafter “FDCPA”), to eliminate abusive debt
12          collection practices by debt collectors, to ensure that those debt collectors who
13          refrain from using abusive debt collection practices are not competitively
14          disadvantaged, and to promote consistent State action to protect consumers
15          against debt collection abuses.
16   3.     The California legislature has determined that the banking and credit system and
17          grantors of credit to consumers are dependent upon the collection of just and
18          owing debts and that unfair or deceptive collection practices undermine the
19          public confidence that is essential to the continued functioning of the banking
20          and credit system and sound extensions of credit to consumers. The Legislature
21          has further determined that there is a need to ensure that debt collectors exercise
22          this responsibility with fairness, honesty and due regard for the debtor’s rights
23          and that debt collectors must be prohibited from engaging in unfair or deceptive
24          acts or practices.
25   4.     Plaintiff makes these allegations on information and belief, with the exception
26          of those allegations that pertain to plaintiff, which Plaintiff alleges on personal
27          knowledge.
28   ///

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     Complaint for Damages
     Case 3:18-cv-00244-L-NLS Document 1 Filed 02/01/18 PageID.3 Page 3 of 9



 1   5.     While many violations are described below with specificity, this Complaint
 2          alleges violations of the statutes cited in their entirety.
 3   6.     Unless otherwise stated, all the conduct engaged in by Defendant took place in
 4          California.
 5   7.     While many violations are described here with specificity, this Complaint
 6          alleges violations of the FDCPA and Rosenthal Fair Debt Collection Practices
 7          Act, California Civil Code §§ 1788-1788.32 (hereinafter “RFDCPA” or
 8          “Rosenthal Act”) in their entirety.
 9   8.     Violations of the FDCPA and RFDCPA by Defendant were knowing, willful,
10          and intentional, and Defendant did not maintain procedures reasonably adapted
11          to avoid any such specific violation.
12   9.     All violations alleged regarding the FDCPA and RFDCPA are material
13          violations of the FDCPA and RFDCPA as these violations would limit the
14          ability of a hypothetical least sophisticated debtor to make an intelligent choice
15          as to the alleged debt and actions that should be taken to resolve the alleged
16          debt.
17   10.    Plaintiff, through Plaintiff’s attorneys, brings this action to challenge the actions
18          of Defendant, with regard to an attempt by Defendant to unlawfully and
19          abusively collect a debt allegedly owed by Plaintiff, and this conduct caused
20          Plaintiff damages.
21   11.    While many violations are described below with specificity, this Complaint
22          alleges violations of the statutes cited in their entirety.
23   12.    Unless otherwise indicated, the use of Defendant’s names in this Complaint
24          includes all agents, employees, officers, members, directors, heirs, successors,
25          assigns, principals, trustees, sureties, subrogees, representatives, and insurers of
26          the named Defendant.
27   ///
28   ///

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     Complaint for Damages
     Case 3:18-cv-00244-L-NLS Document 1 Filed 02/01/18 PageID.4 Page 4 of 9



 1                                     Jurisdiction and Venue
 2   13.    Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1332, 15 U.S.C. §
 3          1692(k), and 28 U.S.C. § 1367 for supplemental state claims.
 4   14.    This action arises out of Defendant's violations of the Fair Debt Collection
 5          Practices Act, 15 U.S.C. §§ 1692 et seq and California’s Rosenthal Act.
 6   15.    Because Defendant does business within the State of California, personal
 7          jurisdiction is established.
 8   16.    Venue is proper pursuant to 28 U.S.C. § 1391.
 9   17.    At all times relevant, Defendant conducted business within the State of
10          California.
11                                             Parties
12   18.    Plaintiff is, and at all times mentioned herein was, an individual citizen and
13          resident of the State of California, County of San Diego, in this judicial district.
14   19.    Plaintiff is informed and believes, and thereon alleges, that that Defendant is,
15          and at all times mentioned herein was, a California corporation with its principal
16          place of business located in California. Plaintiff alleges that at all times relevant
17          herein Defendant conducted business in the State of California, in the County
18          and City of San Diego, within this judicial district.
19   20.    Plaintiff is a natural person allegedly obligated to pay a debt, and is a consumer‚
20          as that term is defined by 15 U.S.C. § 1692a(3).
21   21.    Plaintiff is a natural person from whom a debt collector sought to collect a
22          consumer debt which was alleged to be due and owing, and is a debtor as that
23          term is defined by California Civil Code § 1788.2(h).
24   22.    Defendant is a person who uses an instrumentality of interstate commerce or the
25          mails in a business the principal purpose of which is the collection of debts, or
26          who regularly collects or attempts to collect, directly or indirectly, debts owed
27          or due or asserted to be owed or due another and is therefore a debt collector as
28          that phrase is defined by 15 U.S.C. § 1692a(6).

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     Complaint for Damages
     Case 3:18-cv-00244-L-NLS Document 1 Filed 02/01/18 PageID.5 Page 5 of 9



 1   23.    Defendant in the ordinary course of business, regularly, on behalf of themselves,
 2          or others, engages in debt collection as that term is defined by California Civil
 3          Code § 1788.2(b), and is therefore a debt collector as that term is defined by
 4          California Civil Code § 1788.2(c).
 5   24.    This case involves money, property or their equivalent, due or owing or alleged
 6          to be due or owing from a natural person by reason of a consumer credit
 7          transaction. As such, this action arises out of a consumer debt and “consumer
 8          credit” as those terms are defined by Cal. Civ. Code § 1788.2(f).
 9                                   FACTUAL ALLEGATIONS
10   25.    On or around July 14, 2016, Plaintiff incurred $30 to IHS Radiology Medical
11          Group for personal medical services as that term is defined under Cal. Civ. Code
12          § 1788.2(f) and a “debt” as that term is defined by 15 U.S.C. § 1692(a)(5).
13   26.    The debt was later sold, transferred, or assigned to Defendant for collection.
14   27.    On or around February 15, 2017, Defendant mailed Plaintiff a debt collection
15          letter stating the balance due for the IHS Radiology Medical Group debt is
16          $135.52. The debt collection letter lists the “Creditor Balance” of $67.65 twice
17          with the exact same “Creditor Ref Number” and date the debt was incurred.
18   28.    The debt collection letter from Defendant stated “This communication is from a
19          debt collector. This is an attempt to collect a debt and any information obtained
20          will be used for that purpose.”
21   29.    Defendant attempted to collect an amount larger than the actual amount of the
22          debt owed to IHS Radiology Medical Group, falsely causing Plaintiff believe
23          she owed a debt larger than the actual amount due.
24   30.    The February 15, 2017 communication is considered “debt collection” as Cal.
25          Civ. Code 1788.2(b) defines that phrase and a “communication” about “debt” as
26          the terms are defined under 15 U.S.C. § 1692a.
27   31.    The collection letter deceived Plaintiff to believe she owed a debt to Defendant
28          larger than the actual amount owed to IHS Radiology Medical Group.

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     Complaint for Damages
     Case 3:18-cv-00244-L-NLS Document 1 Filed 02/01/18 PageID.6 Page 6 of 9



 1   32.    Plaintiff was injured because her privacy rights were infringed upon in the form
 2          of harassment by Defendant.
 3   33.    As a direct and proximate result of Defendant’s unfair, unlawful, oppressive,
 4          and abusive collection practices, Plaintiff has suffered mental anguish by way of
 5          embarrassment, shame, anxiety, fear, and feelings of despair over the fact that
 6          Defendant’s unlawful collection efforts.
 7                                  FIRST CAUSE OF ACTION
 8
                             FAIR DEBT COLLECTION PRACTICES ACT
                                    15 U.S.C. §§ 1692 ET SEQ.
 9
     34.    Plaintiff repeats, re-alleges, and incorporates by reference, all other paragraphs.
10
     35.    Because Defendant was not the original creditor, Defendant is considered a
11
            “debt collector” for purposes of the FDCPA.
12
     36.    Defendant sent Plaintiff a debt collection letter attempting to collect an amount
13
            greater than the amount owed by Plaintiff in violation of 15 U.S.C. §
14
            1692c(a)(2) which states:
15
                    “A debt collector may not engage in any conduct the natural
16                  consequence of which is to harass, oppress, or abuse any
17
                    person in connection with the collection of a debt.”

18   37.    Defendant further violated 15 U.S.C. §§ 1692d and f for using unfair, abusive,
19          and unconscionable means to collect the debt.
20   38.    Defendant misrepresented the amount of the debt owed in violation of 15 U.S.C.
21          § 1692e and particularly 15 U.S.C. § 1692e(2) which states:
22                  “A debt collector may not use any false, deceptive, or
23
                    misleading representation or means in connection with the
                    collection of any debt. Without limiting the general
24                  application of the foregoing, the following conduct is a
25
                    violation of this section: the false representation of the
                    character, amount, or legal status of any debt.”
26
27   39.    As a direct and proximate result of Defendant’s violations of the 15 U.S.C. §

28          1692 et seq, Plaintiff has suffered injury, and may recover statutory damages

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     Complaint for Damages
     Case 3:18-cv-00244-L-NLS Document 1 Filed 02/01/18 PageID.7 Page 7 of 9



 1          from Defendant in addition to actual damages and reasonable attorney fees and
 2          costs pursuant to the FDCPA.
 3   40.    Plaintiff is entitled to damages as a result of Defendant’s violations.
 4   41.    Plaintiff is also entitled to an award of attorney fees, costs, interest and any
 5          other relief the Court deems just and proper.
 6                             SECOND CAUSE OF ACTION
 7
           VIOLATIONS OF THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
                           CAL. CIV. CODE § 1788, ET SEQ.
 8
     42.    Plaintiff repeats, re-alleges, and incorporates by reference, all other paragraphs.
 9
     43.    The RFDCPA, Cal. Civ. Code § 1788 et seq, prohibits unfair and deceptive acts
10
            and practices in the collection of consumer debts.
11
     44.    Defendant attempted to collect the debt and, as such, engaged in “debt
12
            collection” as defined by Cal. Civ. Code § 1788.2(b).
13
     45.    Defendant in the regular course of business, engages in debt collection and is a
14
            “debt collector” as defined by Cal. Civ. Code § 1788.2(c).
15
     46.    As mentioned above, Defendant did not comply with 15 U.S.C. §§ 1692b to
16
            1692j as required by Cal. Civ. Code § 1788.17.
17
     47.    Defendant willfully and knowingly violated the RFDCPA.                    As a “debt
18
            collector” under the RFDCPA it is fully aware of California’s debt collection
19
            laws, including the RFDCPA and FDCPA as incorporated therein.
20
     48.    Plaintiff is entitled to damages as a result of Defendant’s willful violations.
21
     49.    Plaintiff is also entitled to an award of attorney fees, costs, interest and any
22
            other relief the Court deems just and proper.
23
                                     THIRD CAUSE OF ACTION
24                                        NEGLIGENCE
25   69.    Plaintiff repeats, re-alleges, and incorporates by reference, all other paragraphs.
26   70.    Defendant owed a duty of care to Plaintiff to refrain from collecting debts not
27          owed by Plaintiff.
28   ///

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     Complaint for Damages
     Case 3:18-cv-00244-L-NLS Document 1 Filed 02/01/18 PageID.8 Page 8 of 9



 1   71.    Defendant also owed a duty of care to Plaintiff to not misrepresent the amount
 2          of a debt owed by Plaintiff.
 3   72.    Defendant’s conduct proximately caused injuries to Plaintiff.
 4   73.    Due to Defendant’s conduct as set forth herein, Plaintiff is entitled to actual
 5          damages in an amount to be established at trial.
 6   74.    Plaintiff believes and alleges that Defendant’s conduct constituted oppressive,
 7          malicious, despicable, gross and wantonly negligent behavior, which
 8          demonstrates Defendant’s conscious disregard for the rights of Plaintiff. As
 9          such, Plaintiff is entitled to recover punitive damages from Defendant in an
10          amount according to proof at trial.
11                                    PRAYER FOR RELIEF
12          WHEREFORE, Plaintiff prays that judgment be entered against Defendant, and
13   Plaintiff be awarded damages from Defendant, as follows:
14                                 FIRST CAUSE OF ACTION
15
                                  VIOLATIONS OF THE FDCPA
      75.   Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
16
      76. Statutory damages of $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A);
17
      77. Attorney fees and costs pursuant to 15 U.S.C. § 1692k(a)(3);
18
      78. Interest, punitive damages and any other relief the Court deems just and proper.
19
                                  SECOND CAUSE OF ACTION
20
                                 VIOLATIONS OF THE RFDCPA
21
      79. Actual damages pursuant to Cal. Civ. Code § 1788.30(a) and Cal. Civ. Code §
22
            1788.32;
23
      80. Statutory damages of $1,000.00 for violation of Cal. Civ. Code § 1788, et seq
24
            pursuant to Cal. Civ. Code § 1788.30(b) and Cal. Civ. Code § 1788.32.
25
            Gonzales v. Arrow Financial Services, LLC, 489 F.Supp.2d 1140, 1143 (S.D.
26
            Cal. 2007);
27
      81. Attorney fees and costs pursuant to Cal. Civ. Code § 1788.30(c) and Cal. Civ.
28
            Code § 1788.32;
                                                  8
     Complaint for Damages
     Case 3:18-cv-00244-L-NLS Document 1 Filed 02/01/18 PageID.9 Page 9 of 9



 1    82. Interest, punitive damages and any other relief the Court deems just and proper.
 2                                   THIRD CAUSE OF ACTION
 3
                                          NEGLIGENCE
      83. As a result of Defendant's negligence, Plaintiff is entitled to money damages in
 4
            an amount to be proven at trial; and
 5
      84. Interest, punitive damages and any other relief the Court deems just and proper.
 6
                                          TRIAL BY JURY
 7
     84.    Pursuant to the seventh amendment to the Constitution of the United States of
 8
     America, Plaintiff is entitled to, and demands, a trial by jury.
 9
10
                                                       Respectfully submitted,
11
                                                       HYDE & SWIGART
12
     Date: February 1, 2018                            By: s/Joshua Swigart
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14
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                                                       Valorie Moser

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     Complaint for Damages
